---- WAYNE- PAYNE; DIANE: GATSON RILEY;

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI -
SOUTHERN DIVISION

GARY BRICE MCBAY PLAINTIFF
V. CIVIL ACTION NO. 1:07CV1205-LG-RHW
HARRISON COUNTY, MISSISSIPPI BY AND

THROUGH ITS BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF GEORGE PAYNE;

STEVE CAMPBELL; RICK GATSON; RYAN TEEL;
MORGAN THOMPSON: JOHN DOES 1-4;
AMERICAN CORRECTIONAL ASSOCIATION;
JAMES A GONDLES, JR.; UNKNOWN DEFENDANTS
1-3 EMPLOYEES OF AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE LLC AND
UNKNOWN DEFENDANTS 1-2 EMPLOYEES OF

AMERICAN CORRECTIONAL ASSOCIATION _ DEFENDANTS
RECORDS AFFIDAVIT

STATE OF MISSISSIPPI

COUNTY OF HARRISON

Personally appeared before me, the undersigned authority in and for the aforesaid jurisdiction, Christus
Santa Rosa Hospital, (or alternatively, records custodian), who upon his/her oath, stated that (1) he/she has first
hand knowledge of the maintenance and/or storage of the attached records; (2) the attached records are a true and
correct copy of the medical records that were kept in the regular course of the examination, evaluation, and/or
treatment of GARY BRICE MCBAY; and (3) pursuant to the regular course and scope of activities of the office
of Christus Santa Rosa Hospital, and made at or near the time of the matters set forth by, or from information

transmitted by, a person with knowledge of those matters.

I certify the above declaration is true and correct under penalty of perjury.

CF

Affiant

SWORN to and subscribed before me, this the i3 day of | i \s i , 2009,
rn (

My commission expires:

&-Y- oid

EXHIBIT

mp"

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me Christus Santa Rosa HealthCare Lab PAGE 2
es CHRISTUS SANTA ROSA ER OUTPATIENT DOCTOR REPORT-MEDICAL RECORDS

=y
s Health Care

RUN DATE: 12/23/03 . LOCATION
RUN TIME: 2231 SR Emergency Department
Patient: MCBAY,GARY Bo #RD0020588358 (Continued)
Test Ss Normal Abnormal Flag Reference
SGPT/ALT 20 | | 610-50 U/L

|
New test methodology.

cine berencenmang:

: H (40-129 U/L
New test methodology.

Reference ranges and unite mav have changed

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!
ALCOHOL | Joo |
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|

: ae ee *H |NONE DETECT MG/DL
Death can occur at this 1 . Thos experienced with
alcohol will. have medullary paralysis. Cardiac. and
respiratory paralysis are iminent. A few heavy chronic
| drinkers may still be free of frank coma even at this level.
| New test methodology.
| Reference range and units may have changed.
Spec #: 1223:H001825S Coll: 12/23/03-0258 Reed: 12/23/03-0307 REQ #: 02993466
ID #: Room: STATUS: COMP
Pt Ph: Other Doctor:

Ordered: CBC, PT/PTT
Comments: Collector's Name: VICK

Test : Normal Abnormal Flag Reference
CBC (b) | | | |
wec | 10.8 | | [4.5-11.0 th/mm3
RBC | 4.70 | | [4.5-5.9 MIL/mm3
HGB | 15.1 | | [13.5-17.5 g/dL
HOT | 45.1 | | [41-53 %
MCV | 96.0 | | |so-100 £L
MCH | 32.1 | [26-34 pg
MCHC | 33.4 | | [31-37 g/dL
RDW | 13.6 | | [11.5-14.5 %
PLT | 312. | | [140-440 TH/mm3
MPV | 7.6 | |6.1-9.1 £2
| New result range effective 4/2/01.
NEU# | 5.26 , | | [1.8-7.7 TH/mm3
LYM# | 4.40 [1.0-4.8 TH/mm3
' MONO# | 0.47 | [0.3-0.7 TH/mm3
| New normal ranges effective 6/9/02
EOS# | 0.52 | | 10.2-0.6 TH/mm3
| New normal ranges effective 6/9/02
BASC# | c.10 | | )0.00-C.20 TH/mm3
NEU% | 48.8 | 40-70 %
LYM% | 41.0 | [24-44 &
MONO% | 4.4 | [3.0-11.0 %
ECS*% | | H |1.0-3.0.%
(ob) Test performed at : Christus Santa Rosa Laboratory
333 N. Santa Rosa St. San Antonio, Texas 78207

** CONTINUED ON NEXT PACE **

MINA

8219145 (4/02)
